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                            SO UT H ER N D ISTRIC T O F FL O R ID A
                              CA SE N O .10-20763-C R-L EN A R D

 UNITED STATESOF AM ERICA,                   )
                                             )
                                             )
 v.                                          )
                                             )
 EDISON GOM EZ M OLINA,                      )
                                             )
        Defendant.                           )
                                             )
                                             )

                            STIPU LA TED FA CTU A L PR O FFER

        lf this m atter w ere to proceed to trial, the G overnm ent w ould prove the stated facts

 beyond a reasonable doubt. The Parties agree thatthese facts,which do notinclude allfacts

 know n to the G overnm ent and the Defendant,ED ISO N G O M EZ M O LIN A ,are sufficient to

 prove theguiltforCount1,thatis,thedefendant,violated Title21,United StatesCode,Section

 963.


        M ore specifically,from at least October 2006 untilat least Febnzary 2012, GOM EZ

 M OLINA,along with others,used airplanesand otherm eansoftransportation to ship multiple

 loads ofcocaine from Colombia to CentralAmerica.The loads ranged anywhere from 300 to

 600 kilogrnm s each. From there,the cocaine w ould be delivered to representatives of other

 organizations,who would take the cocaine and ultim ately import it into the United States.

 G O M E Z M O LINA is responsible for the shipm ent or attem pted shipment of at least 150

 kilogrnm s of cocaine. G O M EZ M O LIN A knew thatthe cocaine w ould ultim ately be im ported

 into the U nited States.




                                                                                     Page1 of2
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          ED ISO N G O M EZ M O LIN A has acknow ledged his role in the narcotics conspiracy as

 described morefully in theindictm entand thisfactualresum e.

          Accordingly, if this case had gone to trial, the government could prove,beyond a

 reasonable doubt,thatthe defendant did knowingly and intentionally conspire to distribute a

 controlled substance, nnmely five kilogram s or more of cocaine,knowing that it would be

 unlawfully imported into the United States,in violation ofTitle 21,United States Code,Section

 959(a)(2),al1inviolationofTitle21,United StatesCode,Section963.

                               W IFRED O A .FERRER
                               U NITED STATES ATTORN EY

 Ilate.
     .
                 15              By:
                                            H AEL .N A D ER
                                       AISIS            EDSATESATTORNEY
 Date:                           By:                     e
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